Case 6:16-cr-00020-JRG-KNM         Document 49       Filed 08/24/16      Page 1 of 2 PageID #:
                                          131



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

 UNITED STATES OF AMERICA                      §
                                               §
                                               §
                                               §
 v.                                            §        CRIM ACTION 6:16-CR-20(1)
                                               §
                                               §
 STEVEN LEE MCARTER                            §
                                               §


                         REPORT AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE


       This Report and Recommendation is submitted to the Court pursuant to 28 U.S.C. §

636(b)(3).   This case has been referred by the Honorable Michael H. Schneider to the

undersigned Magistrate Judge for the taking of a felony guilty plea. The parties have consented

to the administration of guilty plea and FED. R. CRIM. P. 11 allocution by a United States

Magistrate Judge.

       On August 23, 2016, Defendant and counsel appeared before the undersigned, who

addressed Defendant personally in open court and informed Defendant of, and determined that

Defendant understood, the admonishments under Rule 11 of the Federal Rules of Criminal

Procedure.   Pursuant to a FED. R. CRIM. P. 11(c)(1)(C) plea bargain agreement with the

Government, Defendant pled guilty to Count 1 of the Information.          After conducting the

proceeding in the form and manner prescribed by FED. R. CRIM. P. 11, the undersigned finds:

       1. Defendant, with the advice of his attorney, has consented orally and in writing to
          enter her guilty plea before a Magistrate Judge subject to final approval and
          sentencing by the presiding District Judge;

       2. Defendant fully understands the nature of the charges and penalties;


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Case 6:16-cr-00020-JRG-KNM              Document 49        Filed 08/24/16   Page 2 of 2 PageID #:
                                               132



          3. Defendant fully understands the terms of the plea agreement;

          4. Defendant understands his constitutional and statutory rights and wishes to waive
             these rights, including the right to a trial by jury and the right to appear before a
             United States District Judge to enter this plea of guilty;

          5. Defendant’s plea is made freely and voluntarily;

          6. Defendant is competent to enter this plea of guilty;

          7. There is a factual basis for this plea; and

          8. The ends of justice will be served by acceptance of Defendant’s plea of guilty.

                                           Recommendation

          It is therefore RECOMMENDED that the District Judge accept the plea of guilty and

enter a final judgment of guilty against Defendant. It is further RECOMMENDED that the plea

agreement be approved conditioned upon a review of the presentence report.

          Before the conclusion of the hearing, the undersigned announced the foregoing

recommendation and notified Defendant of his right to object to this Report and

Recommendation. Defendant waived that right in open court. The Government also waived its

right to object to the Report and Recommendation. It is, therefore, recommended that the Court

enter an order accepting the plea of guilty, approving the plea agreement and finding Defendant

guilty.


            So ORDERED and SIGNED this 24th day of August, 2016.




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